       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 1 of 8




1      CENTER FOR DISABILITY ACCESS
       Amanda Seabock, Esq., SBN 289900
2      Prathima Price, Esq., SBN 321378
       Dennis Price, Esq., SBN 279082
3      Mail: 8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
4      (858) 375-7385; (888) 422-5191 fax
       amandas@potterhandy.com
5
       Attorneys for Plaintiff
6
7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
            v.                                   Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       1800 RC Partners, LLC, a                  Act; Unruh Civil Rights Act
14     California Limited Liability
       Company;
15     Caliber Bodyworks LLC, a
16     California Limited Liability
       Company
17
                 Defendants.
18
19
             Plaintiff Scott Johnson complains of 1800 RC Partners, LLC, a
20
     California Limited Liability Company; Caliber Bodyworks LLC, a California
21
     Limited Liability Company; and alleges as follows:
22
23
24     PARTIES:
25     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
26   level C-5 quadriplegic. He cannot walk and has significant manual dexterity
27   impairments. He uses a wheelchair for mobility and has a specially equipped
28   van.


                                            1

     Complaint
       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 2 of 8




1      2. Defendant 1800 RC Partners, LLC owned the real property located at
2    or about 1800 Industrial Way, Redwood City, California, between May 2021
3    and December 2021.
4      3. Defendant 1800 RC Partners, LLC owns the real property located at or
5    about 1800 Industrial Way, Redwood City, California, currently.
6      4. Defendant Caliber Bodyworks LLC owned Caliber Collision located at
7    or about 1800 Industrial Way, Redwood City, California, between May 2021
8    and December 2021.
9      5. Defendant Caliber Bodyworks LLC owns Caliber Collision located at or
10   about 1800 Industrial Way, Redwood City, California, currently.
11     6. Plaintiff does not know the true names of Defendants, their business
12   capacities, their ownership connection to the property and business, or their
13   relative responsibilities in causing the access violations herein complained of,
14   and alleges a joint venture and common enterprise by all such Defendants.
15   Plaintiff is informed and believes that each of the Defendants herein is
16   responsible in some capacity for the events herein alleged, or is a necessary
17   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
18   the true names, capacities, connections, and responsibilities of the Defendants
19   are ascertained.
20
21     JURISDICTION & VENUE:
22     7. The Court has subject matter jurisdiction over the action pursuant to 28
23   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
24   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
25     8. Pursuant to supplemental jurisdiction, an attendant and related cause
26   of action, arising from the same nucleus of operative facts and arising out of
27   the same transactions, is also brought under California’s Unruh Civil Rights
28   Act, which act expressly incorporates the Americans with Disabilities Act.


                                            2

     Complaint
       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 3 of 8




1      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
2    founded on the fact that the real property which is the subject of this action is
3    located in this district and that Plaintiff's cause of action arose in this district.
4
5      FACTUAL ALLEGATIONS:
6      10. Plaintiff went to Caliber Collision in May 2021 and December 2021
7    with the intention to avail himself of its goods or services motivated in part to
8    determine if the defendants comply with the disability access laws.
9      11. Caliber Collision is a facility open to the public, a place of public
10   accommodation, and a business establishment.
11     12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
12   to provide wheelchair accessible parking in conformance with the ADA
13   Standards as it relates to wheelchair users like the plaintiff.
14     13. Caliber Collision provides parking to its customers but fails to provide
15   wheelchair accessible parking.
16     14. One problem that plaintiff encountered was that there was no access
17   aisle that accompanied the ADA parking stall. What is more, there was no
18   striping whatsoever for the lone parking stall ostensibly designed for persons
19   with disabilities. There was also no ADA signage in front of the parking stall.
20     15. Plaintiff believes that there are other features of the parking that likely
21   fail to comply with the ADA Standards and seeks to have fully compliant
22   parking for wheelchair users.
23     16. On information and belief, the defendants currently fail to provide
24   wheelchair accessible parking.
25     17. Additionally, on the dates of the plaintiff’s visits, the defendants failed
26   to provide accessible entrance door hardware in conformance with the ADA
27   Standards as it relates to users like the plaintiff.
28     18. Caliber Collision provides door hardware to its customers but fails to


                                               3

     Complaint
       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 4 of 8




1    provide accessible entrance door hardware.
2      19. A problem that plaintiff encountered was that the entrance door
3    hardware had a pull bar style handle that required tight grasping to operate.
4      20. Plaintiff believes that there are other features of the door hardware that
5    likely fail to comply with the ADA Standards and seeks to have fully compliant
6    door hardware.
7      21. On information and belief, the defendants currently fail to provide
8    accessible door hardware.
9      22. The failure to provide accessible facilities created difficulty and
10   discomfort for the Plaintiff.
11     23. These barriers relate to and impact the plaintiff’s disability. Plaintiff
12   personally encountered these barriers.
13     24. As a wheelchair user, the plaintiff benefits from and is entitled to use
14   wheelchair accessible facilities. By failing to provide accessible facilities, the
15   defendants denied the plaintiff full and equal access.
16     25. The defendants have failed to maintain in working and useable
17   conditions those features required to provide ready access to persons with
18   disabilities.
19     26. The barriers identified above are easily removed without much
20   difficulty or expense. They are the types of barriers identified by the
21   Department of Justice as presumably readily achievable to remove and, in fact,
22   these barriers are readily achievable to remove. Moreover, there are numerous
23   alternative accommodations that could be made to provide a greater level of
24   access if complete removal were not achievable.
25     27. Plaintiff will return to Caliber Collision to avail himself of its goods or
26   services and to determine compliance with the disability access laws once it is
27   represented to him that Caliber Collision and its facilities are accessible.
28   Plaintiff is currently deterred from doing so because of his knowledge of the


                                             4

     Complaint
       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 5 of 8




1    existing barriers and his uncertainty about the existence of yet other barriers
2    on the site. If the barriers are not removed, the plaintiff will face unlawful and
3    discriminatory barriers again.
4      28. Given the obvious and blatant nature of the barriers and violations
5    alleged herein, the plaintiff alleges, on information and belief, that there are
6    other violations and barriers on the site that relate to his disability. Plaintiff will
7    amend the complaint, to provide proper notice regarding the scope of this
8    lawsuit, once he conducts a site inspection. However, please be on notice that
9    the plaintiff seeks to have all barriers related to his disability remedied. See
10   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
11   encounters one barrier at a site, he can sue to have all barriers that relate to his
12   disability removed regardless of whether he personally encountered them).
13
14   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
15   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
16   Defendants.) (42 U.S.C. section 12101, et seq.)
17     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint.
20     30. Under the ADA, it is an act of discrimination to fail to ensure that the
21   privileges, advantages, accommodations, facilities, goods and services of any
22   place of public accommodation is offered on a full and equal basis by anyone
23   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
24   § 12182(a). Discrimination is defined, inter alia, as follows:
25             a. A failure to make reasonable modifications in policies, practices,
26                or procedures, when such modifications are necessary to afford
27                goods,     services,     facilities,   privileges,    advantages,      or
28                accommodations to individuals with disabilities, unless the


                                               5

     Complaint
       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 6 of 8




1                 accommodation would work a fundamental alteration of those
2                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
3             b. A failure to remove architectural barriers where such removal is
4                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
5                 defined by reference to the ADA Standards.
6             c. A failure to make alterations in such a manner that, to the
7                 maximum extent feasible, the altered portions of the facility are
8                 readily accessible to and usable by individuals with disabilities,
9                 including individuals who use wheelchairs or to ensure that, to the
10                maximum extent feasible, the path of travel to the altered area and
11                the bathrooms, telephones, and drinking fountains serving the
12                altered area, are readily accessible to and usable by individuals
13                with disabilities. 42 U.S.C. § 12183(a)(2).
14     31. When a business provides parking, it must provide accessible parking.
15     32. Here, accessible parking has not been provided in conformance with the
16   ADA Standards.
17     33. When a business provides door hardware, it must provide accessible
18   door hardware.
19     34. Here, accessible door hardware has not been provided in conformance
20   with the ADA Standards.
21     35. The Safe Harbor provisions of the 2010 Standards are not applicable
22   here because the conditions challenged in this lawsuit do not comply with the
23   1991 Standards.
24     36. A public accommodation must maintain in operable working condition
25   those features of its facilities and equipment that are required to be readily
26   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
27     37. Here, the failure to ensure that the accessible facilities were available
28   and ready to be used by the plaintiff is a violation of the law.


                                              6

     Complaint
        Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 7 of 8




1    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
2    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
3    Code § 51-53.)
4       38. Plaintiff repleads and incorporates by reference, as if fully set forth
5    again herein, the allegations contained in all prior paragraphs of this
6    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
7    that persons with disabilities are entitled to full and equal accommodations,
8    advantages, facilities, privileges, or services in all business establishment of
9    every kind whatsoever within the jurisdiction of the State of California. Cal.
10   Civ. Code §51(b).
11      39. The Unruh Act provides that a violation of the ADA is a violation of the
12   Unruh Act. Cal. Civ. Code, § 51(f).
13      40. Defendants’ acts and omissions, as herein alleged, have violated the
14   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
15   rights to full and equal use of the accommodations, advantages, facilities,
16   privileges, or services offered.
17      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
18   discomfort or embarrassment for the plaintiff, the defendants are also each
19   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
20   (c).)
21      42. Although the plaintiff encountered frustration and difficulty by facing
22   discriminatory barriers, even manifesting itself with minor and fleeting
23   physical symptoms, the plaintiff does not value this very modest physical
24   personal injury greater than the amount of the statutory damages.
25
26           PRAYER:
27           Wherefore, Plaintiff prays that this Court award damages and provide
28   relief as follows:


                                              7

     Complaint
       Case 3:22-cv-01106-TSH Document 1 Filed 02/23/22 Page 8 of 8




1        1. For injunctive relief, compelling Defendants to comply with the
2    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
3    plaintiff is not invoking section 55 of the California Civil Code and is not
4    seeking injunctive relief under the Disabled Persons Act at all.
5        2. For equitable nominal damages for violation of the ADA. See
6    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
7    and any other equitable relief the Court sees fit to grant.
8        3. Damages under the Unruh Civil Rights Act, which provides for actual
9    damages and a statutory minimum of $4,000 for each offense.
10       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
13   Dated: February 18, 2022                CENTER FOR DISABILITY ACCESS
14
15                                           By: _______________________
16                                                  Amanda Seabock, Esq.
                                                    Attorney for plaintiff
17
18
19
20
21
22
23
24
25
26
27
28


                                             8

     Complaint
